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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

                                         :
RHONDA J. MARTIN, et al.,                :
                                         :
            Plaintiffs,                  :
                                         :
v.                                       :           CIVIL ACTION NO.
                                         :          1:18-CV-04776-LMM
BRIAN KEMP, et al.,                      :
                                         :
            Defendants.                  :




                      STANDING ORDER REGARDING
                           CIVIL LITIGATION



      This case has been assigned to Judge Leigh Martin May. These guidelines

are furnished to inform the parties and their counsel of the policies,

procedures, and practice, and to promote the just, speedy, and economical

disposition of cases. This order, in combination with the Local Rules of this

Court and the Federal Rules of Civil Procedure, shall govern this case,

superseding any previous case instruction orders.
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          I.     GENERAL MATTERS

      Attorneys and pro se litigants appearing in this court in civil litigation must

observe three sets of rules:

      1. The Federal Rules of Civil Procedure. These rules are available
          at
        http://www.uscourts.gov/rules-policies/current-rules-practice-
        procedure.

      2. The local rules of this District Court and Instructions
          Regarding Pretrial Proceedings. The local rules of this Court are
          available for downloading at
          http://www.gand.uscourts.gov/local-rules. Various forms and
          the Court’s pretrial instruction package are available at
          http://www.gand.uscourts.gov/rules-standing-orders-forms.

      3. The rules and practices of the district judge, and magistrate
          judge if appropriate, assigned to your case, including this
          standing order.

        II.     CASE ADMINISTRATION

        a.      Contacting Chambers

      Rebecca Bachelor, the Courtroom Deputy Clerk, is your principal point

of contact on matters related to this case. Communications with Ms. Bachelor

should be via email or in writing addressed as follows:

               Honorable Leigh Martin May
               ATTN: Rebecca Bachelor
               Courtroom Deputy Clerk
               2167 United States Courthouse
               75 Ted Turner Dr., SW
               Atlanta, GA 30303-3309
               Rebecca_Bachelor@gand.uscourts.gov

      If a telephone call is necessary, you may reach Ms. Bachelor at 404-215-

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1514 (direct dial). Please note that Ms. Bachelor is often in the courtroom, so

telephone messages may not be returned for 24 hours. Neither the parties nor

their counsel should discuss the merits of the case with Ms. Bachelor or any of the

Court’s law clerks.

          b.    Courtesy Copies of Documents

      Parties frequently forward copies of motions or other filings directly

to chambers for the Court’s convenience. Courtesy copies are not required,

except for motions for summary judgment or motions with voluminous

exhibits. Courtesy copies of such motions should be hand-delivered to

chambers in Room 2167 on the 21st floor of the Richard B. Russell Federal

Building or submitted via regular mail to the attention of the Courtroom Deputy

Clerk at the above-provided address. The courtesy copies provided shall be

stamped filed with the CM/ECF (Case Management/Electronic Case Filing)

header.

          c.    Attorneys

                i.    Admission of Counsel Pro Hac Vice

      In the event that lead counsel has been admitted pro hac vice, local

counsel is required to be familiar with the case and may be called upon to attend

hearings or participate in conferences on behalf of the lead counsel.

                ii.   Electronic Registration for All Counsel

      All counsel—including counsel admitted pro hac vice—must register and

participate in the Court’s electronic filing system, CM/ECF. NDGa Standing

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Order 04-01.

       Pro se litigants are not part of the Court’s electronic filing system and should be

served directly.

                   iii.   Leaves of Absence

       Counsel are encouraged to review their calendars and submit as early

as possible any requests for leave of absence. Leave requests shall comply

with Local Rule 83.1, NDGa. All requests for or notices of leaves of absence must

be electronically filed. Counsel should not mail or hand-deliver paper copies to

chambers.

                   iv.    Withdrawal or Substitution of Counsel

       It is counsel’s responsibility to keep the Court informed of any change of

status. Counsel should comply with Local Rule 83.1, NDGa, when substituting or

withdrawing as counsel. Counsel who do not comply with this Local Rule will not

be allowed to withdraw from the case until compliance is achieved.

                   v.     Corporate Representation

       Corporate entities must be represented in court by an attorney. A

corporate officer may not represent the corporation unless that officer is also

licensed to practice law in the state of Georgia. Local Rule 83.1, NDGa, states:

       a corporation may only be represented in court by an attorney,
       that a[n] attorney must sign all pleadings submitted to the court,
       and that a corporate officer may not represent the corporation in
       court unless that officer is also an attorney licensed to practice
       law in the state of Georgia, and that failure to comply with this
       rule could result in a default being entered against the corporate
       party.

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        d.     Pro Se Litigants

      Parties proceeding pro se (without an attorney) are ADVISED that they

must comply with the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”), as well

as the Local Rules of the United States District Court for the Northern District of

Georgia (“LR, NDGa.”). Pro se parties may obtain certain basic materials and

hand-outs from the Office of the Clerk of Court located on the 22nd Floor of the

United States Courthouse, 75 Spring Street, S.W., Atlanta, Georgia. Many

documents are also available on the Court’s website at www.gand.uscourts.gov.

Pro se litigants may also utilize the law library located on the 23rd floor of the

United States Courthouse at the above-provided address.

      Counsel and parties representing themselves are prohibited from engaging

in ex parte communications with the Court or the Court’s staff. “Ex parte

communications” mean any form of contact with the Court outside the presence

of the opposing party or opposing party’s counsel. This includes, but is not

limited to, telephone calls, written correspondence, or in-person contact by one

party or party’s counsel. If counsel or a pro se litigant seeks court action, the

appropriate procedure is to put the request in writing, in the form of a motion,

file the motion with the Clerk’s office, and serve the opposing party or party’s

counsel. See Fed. R. Civ. P. 5; LR 5.1-5.2, NDGa; see also LR 7.4, NDGa.

(“Communications to judges seeking a ruling or order, including an extension of

time, shall be by motion and not by letter. A letter seeking such action ordinarily


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will not be treated as a motion.”).

      The Clerk of Court and the U.S. Marshals Service will not serve documents

filed by either party, unless expressly directed to do so by the Court. The Court

will only direct the Clerk or the U.S. Marshals Service to serve in the following

instances: (1) in the event a plaintiff is granted leave to proceed in forma pauperis

(without prepayment of fees) and survives a frivolity review, the Court will direct

the Clerk to prepare (and deliver to the U.S. Marshals Service if necessary) a

service package containing the case initiating document(s), or (2) in exceptional

circumstances under the Court’s discretion. The National Association of

Professional Process Servers provides a search engine for locating process servers

across the nation at its website (www.napps.org). A pro se plaintiff is (1)

REQUIRED to provide the Clerk with an original of any further pleadings or

other papers filed with the Court after the Complaint, and (2) is further

REQUIRED to SERVE upon the defendant(s) or counsel for the defendant(s),

by mail or by hand delivery under Rule 5 of the Federal Rules of Civil Procedure, a

copy of every additional pleading or other paper described in Rule 5 of the Federal

Rules of Civil Procedure.

      Each pleading or paper described in Rule 5, including pleadings, papers

related to discovery required to be served, motions, notices, and similar papers,

shall include a certificate stating the date on which an accurate copy of that

pleading or document was mailed or hand-delivered to the defendant(s) or their

counsel. This Court shall disregard any papers submitted which have not been

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properly filed with the Clerk, or which do not include a certificate of service. Pro

se parties are also ADVISED that, under Local Rule 7, NDGa, “PLEADINGS

ALLOWED; FORM OF MOTIONS,” if the deadline for a response to a motion

passes without a response being filed, the motion is deemed unopposed. See LR

7.1B, NDGa. Furthermore, under Local Rule 56.1, NDGa, the failure by a

respondent to a motion for summary judgment to contest the movant’s statement

of material facts will be taken as an admission of those facts not objected to in

respondent’s statement.

      Pro se parties are further REQUIRED to keep the Court advised of their

current address at all times during the pendency of the lawsuit. Local Rule

83.1D.(3), NDGa, provides that counsel and parties appearing pro se have, in all

cases, a duty to notify the Clerk's Office by letter of any change in address and/or

telephone number. Per this rule, “[a] failure to keep the clerk's office so informed

which causes a delay or otherwise adversely affects the management of a civil case

shall constitute grounds for dismissal without prejudice or entry of a judgment by

default.”

        III. CASE MANAGEMENT

        a.     Extensions of Time

      The Court, along with counsel for the parties, is responsible for

processing cases toward prompt and just resolutions. To that end, the Court

seeks to set reasonable but firm deadlines. Motions for extension, whether joint,

unopposed, or designated as consent, will not be granted as a matter of course.

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Parties seeking an extension should explain with specificity the unanticipated

or unforeseen circumstances necessitating the extension and should set forth a

timetable for the completion of the tasks for which the extension is sought.

Parties should indicate whether opposing counsel consents to the extension. A

proposed order should also be provided.

        b.     Page Limits for Objections to Magistrate Reports and
               Recommendations

      Objections and Responses to Objections shall be limited to fifteen pages,

absent special permission of the Court.

        c.     Page Limit Extensions

      Parties seeking an extension of the page limit must do so at least five (5)

days in advance of their filing deadline and should explain with specificity the

reasons necessitating the extension. If a party files a motion to extend the page

limit at the same time his or her brief is due, the extension request will be denied

absent a compelling and unanticipated reason for violating the Rule. The Court

will also not consider any arguments made in pages which exceed the Local

Rules’ requirements.

        d.     Stipulations

      Parties may not stipulate to extensions of time or additional pages. Instead,

the Court requires the parties to file a motion, as explained above.

        e.     Legal Citations

      Legal citations should be in Bluebook Bluepages form (i.e., citations should


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appear in the text of a brief immediately following the propositions they support,

not in footnotes or endnotes).

         f.    Conferences

      Scheduling, discovery, pre-trial, and settlement conferences promote the

speedy, just, and efficient resolution of cases. Therefore, the Court encourages

the parties to request a conference with the Court when counsel believes that a

conference will be helpful and counsel has specific goals for the conference.

Conferences may be requested by contacting the Courtroom Deputy Clerk.

         g.    Joint Preliminary Report and Discovery Plan

      Local Rule 16.1 provides that, prior to filing the Joint Preliminary Report

and Discovery Plan, lead counsel for all parties are required to confer in an effort

to settle the case, discuss discovery, limit issues, and discuss other matters

addressed in the Joint Preliminary Report and Discovery Plan. LR 16.1, NDGa.

      With respect to deadlines addressed in the Report, the Court requires

specific due dates to be provided. For example, the parties should set forth in the

proposed Scheduling Order submitted with the Report the dates for the end of

discovery based on the track set forth by the Court for the category of case

involved, for the filing of dispositive motions, and for the filing of the Pre-Trial

Order.

      In certain cases, the Court may schedule a Rule 16 conference. Whether a

conference will be scheduled generally will be determined after the Court reviews

the Joint Preliminary Report and Discovery Plan filed by the parties. The Court

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will typically schedule a conference if any party so requests.

        h.     Discovery

      Initial disclosures should be as complete as possible based upon

information reasonably available. Responses may not be reserved for later

supplementation.

               i.    General Principles of Discovery

      Counsel and pro se litigants should be guided by courtesy, candor, and

common sense, and should conform to the Federal Rules of Civil Procedure, the

Local Rules, and applicable orders in conducting discovery. In particular, counsel

and pro se litigants should have in mind the restrictions on the scope of discovery

stated in Fed. R. Civ. P. 26(b) and the good faith obligations implicit in Rule

26(g). Direct and informal communication between counsel is encouraged to

facilitate discovery and resolve disputes. In this regard, the Court refers counsel

and parties to the guidance offered by the district court for the Central District of

California in O’Connor v. Boeing North American, Inc., 185 F.R.D. 272, 284 (C.D.

Cal. 1999):

      The Court would like to take this opportunity to address the
      parties and their counsel, to stress that “[t]he discovery system
      depends absolutely on good faith and common sense from counsel.
      The courts, sorely pressed by demands to try cases promptly and
      to rule thoughtfully on potentially case dispositive motions,
      simply do not have the resources to police closely the operation
      of the discovery process. The whole system of [c]ivil adjudication
      would be ground to a virtual halt if the courts were forced to
      intervene in even a modest percentage of discovery transactions.
      That fact should impose on counsel an acute sense of responsibility
      about how they handle discovery matters. They should strive to be

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      cooperative, practical and sensible, and should turn to the courts
      (or take positions that force others to turn to the courts) only in
      extraordinary situations that implicate truly significant interests.”

(Citations omitted).

      All discovery must be served early enough so that the responses thereto are

due on or before the last day of the discovery period. Requests for extension of

the discovery period or deadlines within the discovery period must be made in

accordance with Local Rule 26.2B, NDGa. All requests for extensions of the

discovery period must be made via motion and must state: (1) the original (and if

applicable, current) date from which the extension is being sought; (2) the

number of previous requests for extensions, if any; (3) whether these previous

requests were granted or denied; and (4) whether the adversary consents, and if

not, the reasons given by the adversary for refusing to consent. An agreed upon or

consent motion to extend the discovery period or deadlines therein should be

clearly designated as a consent motion. Motions must be filed prior to the

expiration of the existing discovery period. The Court does not allow evidence at

trial which was requested and not revealed during the discovery period.

      Counsel should be aware that the Court is not hesitant to sanction a party

and/or counsel for abusing the discovery process.

              ii.      Discovery Responses: Boilerplate and General
                       Objections

      Federal Rules of Civil Procedure 33(b)(4) and 34(b) (2)(B) prohibits

boilerplate and general objections in response to discovery requests. Parties



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should not carelessly invoke the usual litany of rote objections, i.e., attorney-

client privilege, work-product immunity from discovery, overly broad/unduly

burdensome, irrelevant, not reasonably calculated to lead to the discovery of

admissible evidence.

      A party shall not include in his response to a discovery request a

“Preamble” or a “General Objections” section stating that the party objects to the

discovery request “to the extent that” it violates some rule pertaining to

discovery, e.g., the attorney-client privilege, the work product immunity from

discovery, the requirement that discovery requests be reasonably calculated to

lead to the discovery of admissible evidence, and the prohibition against

discovery requests that are vague, ambiguous, overly broad, or unduly

burdensome. Instead, each individual discovery request must be met with every

specific objection thereto—but only those objections that actually apply to that

particular request. Otherwise, it is impossible for the Court or the party upon

whom the discovery response is served to know exactly what objections have

been asserted to each individual request. All such general objections shall be

disregarded by the Court.

      Finally, a party who objects to a discovery request but then responds to the

request must indicate whether the response is complete, i.e., whether additional

information or documents would have been provided but for the objection(s).

FED. R. CIV. P. 34(b)(2)(C). For example, in response to an interrogatory, a party

is not permitted to raise objections and then state, “Subject to these objections


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and without waiving them, the response is as follows . . .” unless the party

expressly indicates whether additional information would have been included in

the response but for the objection(s).

               iii.   Interrogatories

      The parties are expected to observe the limitations regarding the number

and scope of interrogatories as stated in Fed. R. Civ. P. 26(b) and 33. Counsel’s

or a pro se litigant’s signature on the interrogatories constitutes a certification

of compliance with those limitations. Interrogatories should be brief,

straightforward, neutral, particularized, and capable of being understood by

jurors when read in conjunction with the answer. Ordinarily, they should be

limited to requesting objective facts, such as the identification of persons or

documents, dates, places, transactions, and amounts. Argumentative

interrogatories, attempts to cross-examine, and multiple repetitive interrogatories

are objectionable.

      The parties are directed to consult Federal Rules of Civil Procedure

26(b) and 33(b)-(d) about the permissible scope of discovery and objections.

Counsel’s or a pro se litigant’s signature on the answer constitutes a

certification of compliance with the requirements of Fed. R. Civ. P. 26(g).

      Fed. R. Civ. P. 33(b)(3) requires the respondent to provide separate written

answers to each interrogatory unless it is objected to. If an objection is made, the

reason(s) for the objection shall be stated and the interrogatory is to be answered

to the extent it is not objectionable. When in doubt about the meaning of an


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interrogatory, give it a reasonable interpretation (which may be specified in the

response) and answer it so as to provide rather than deny information. Generally,

the responding party is required to produce information only in the form in

which it is maintained or is available. If an answer is made by reference to a

document, attach it or identify it and make it available for inspection.

Generalized cross-references, such as to a deposition, are not an acceptable

answer.

      If an objection is based on privilege, the claim of privilege must be

supported by a statement of particulars sufficient to enable the Court to assess

its validity. In the case of a document, such a statement should specify the

privilege relied on and include the date, title, description, subject, and purpose of

the document, the name and position of the author, and the addresses of other

recipients. In the case of a communication, the statement should include the

privilege relied on and the date, place, subject, and purpose of the

communication and the names and positions of all persons present. See Fed. R.

Civ. P. 26(b)(5).

               iv.   Requests for Production or Inspection

      Please consult Fed. R. Civ. P. 26(b) and 34 about the permissible scope

of discovery and objections. To the extent possible, requests should specify

with particularity the title and description of documents or records

requested. (Information needed for specification can often be obtained by

informal discovery, deposition, or interrogatories, if necessary.) The certification


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requirement of Fed. R. Civ. P. 26(g) applies.

      When responding to requests, materials (including electronically stored

information) should be produced in accordance with Fed. R. Civ. P. 34(b)(2)(E).

All documents should be Bates-numbered or labeled with a unique identifier on

each page. Documents should be produced either (1) with labels corresponding

to the categories in the specific requests to which they respond, or (2) in a

format where it is clear which document is responsive to each particular request.

Opening a warehouse for inspection by the requesting party, burying the

responsive documents in a mass of materials, and similar procedures do not

meet the good faith requirements of the rules. The certification procedure of

Fed. R. Civ. P. 26(g) is applicable.

               v.     Requests for Admission

      Requests for admission are an economical and efficient means of

narrowing issues and making a record of informal exchanges of information,

stipulations, and matters subject to judicial notice. Each request should be brief,

clear, simple, addressed to a single point and stated in neutral, non-

argumentative words. Requests ordinarily should deal with only objective facts.

They may be combined with interrogatories to ask for the factual basis of a claim

or a denial. The counsel’s or pro se litigant’s signature certifies compliance with

FED. R. CIV. P. 26(g). FED. R. CIV. P. 36(a)(4) requires that a response specifically

deny a matter or set forth in detail the reasons why the party cannot admit or

deny. A denial shall fairly meet the substance of the request, and when good faith


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requires, a party shall specify so much as is true and qualify or deny the

remainder. The responding party has a duty to make reasonable inquiry before

responding.

               vi.   Depositions

      Barring extraordinary circumstances, opposing counsel and pro se

litigants should be consulted, and the convenience of counsel, witnesses, and

the parties accommodated, before a deposition is noticed.

      When counsel or a party enter into stipulations at the beginning of a

deposition, the terms of the stipulation should be fully stated on the record of

the deposition.

      Questions should be brief, clear, and simple. A deposition should not be

used to harass or intimidate a witness.

      Under Fed. R. Civ. P. 30(c)(2), objections to the manner of taking the

deposition, to the evidence, or to the conduct of a party shall be noted on the

record, but the evidence objected to shall be taken subject to the objection. In the

absence of a good faith claim of privilege, instructions not to answer are rarely

justified and may lead to sanctions under Fed. R. Civ. P. 37. Speaking objections

and other tactics for coaching a witness during the deposition are not

permissible. If counsel or a pro se litigant believes that a motion to terminate or

limit the examination under Fed. R. Civ. P. 30(d) would be warranted or that

counsel is obstructing the deposition to the extent that sanctions or another

deposition will be requested, counsel and/or the pro se litigant should promptly

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initiate a conference call to the Court with opposing counsel for a conference to

attempt to resolve the problem. The Court prefers handling such situations with a

conference call rather than a later motion.

      Fed. R. Civ. P. 26(b)(4) should be consulted regarding expert disclosures.

Experts who are prospective witnesses are normally produced for deposition by

the opposing party as a matter of course.

      The parties are expected to observe the limitations on depositions specified

in Fed. R. Civ. P. 26(b) and 30 and, in particular, to avoid unnecessary

depositions.

        i.     Discovery Disputes

      Prior to the filing of a discovery motion (except for unopposed, consent,

or joint motions to extend the discovery period), the parties should email the

Courtroom Deputy Clerk to request a conference with the Court, as the

Court requires the parties to submit their discovery disputes to the Court before

formal motions to compel or for a protective order are filed. The movant, after

conferring with the respondent in a good faith effort to resolve the dispute by

agreement, must send Ms. Bachelor (with a copy to all counsel of record) a one-

page email summarizing the dispute and the relief sought. If the matter is time-

sensitive, the movant should make that clear in the email. The Courtroom Deputy

Clerk will provide the parties with the avenue by which they may brief the Court

on the dispute (generally short emailed statements), then she will schedule a

conference with the Court following the conclusion of the briefing. If the dispute

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involves an interrogatory or request for production, the text of the request at

issue shall be provided in the statement or attached thereto. These disputes

are often resolved in a conference with the Court, thus avoiding a delay of

discovery. The conference will be recorded by a court reporter. Motions to

compel, to quash a subpoena, for a protective order, or for sanctions ordinarily

should NOT be filed without a prior conference with the Court.

      In addition, if any party has a dispute with a non-party (e.g., regarding a

subpoena), the party and the non-party must follow these instructions, and the

party must promptly inform the non-party of this discovery-dispute policy. If the

non-party requires the Court’s involvement in resolving the dispute, it should not

file a motion, but rather, should follow the procedure detailed in the two

preceding paragraphs.

      If a bona fide dispute arises during a deposition that the parties cannot

resolve despite a good-faith effort to do so, counsel should not hesitate to call the

Court (404-215-1514 or 404-215-1510). The Court is usually available by

telephone to resolve objections and disputes that arise during depositions.

        j.     Confidentiality Agreements, Protective Orders, and
               Motions to Seal

      The Court eschews the excess use of consent protective confidentiality

orders that allow counsel to designate documents, tangible things, and

information as “Confidential” and/or “Confidential—For Attorney’s Eyes Only.”

While the Court recognizes the legitimacy of such orders in some cases, the



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Court’s experience is that such orders are used—and abused—more often than

truly necessary. The Court is aware that the parties will at times agree to

designate documents as “confidential.” However, the Court will not approve

consent protective orders that conflict with the Court’s view on the sealing of

materials.

      As a guide to counsel, the Court notes that documents, tangible things, and

information ordinarily are not truly confidential unless they constitute either (1)

a “trade secret,” as defined by Section 1(4) of the Uniform Trade Secrets Act, or

for cases applying Georgia law, O.C.G.A. § 10-1-761(4); (2) personal identifying

information, such as a Social Security number; or (3) personal health information

protected by the Health Insurance Portability and Accountability Act. Counsel

should also be aware that the Court is not hesitant to sanction a party and/or

counsel for abusing a protective confidentiality order by too readily designating

documents, tangible things, and/or information as “Confidential” and/or

“Confidential—For Attorney’s Eyes Only.”

      If the parties find that a confidentiality agreement or protective order

is necessary, the parties must follow the practice for filing and sealing

documents as described in the Court’s Procedure for Electronic Filing Under Seal

in Civil Cases, and must include this provision in any proposed agreement or

protective order submitted for the Court’s consideration:

      Any documents (including briefs), tangible things, or information
      designated as Confidential that are submitted to the Court in support
      of or in opposition to a motion or introduced at a hearing or during


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      trial may retain their protected confidential status only by
      compliance with the Court’s Procedures for Electronic Filing Under
      Seal in Civil Cases.

      For documents filed other than during a hearing or trial, as a general

matter, this Court will seal only those items enumerated in the Court's Standing

Order 04-02 regarding sensitive information and public access to electronic

case files. Absent extraordinary circumstances making prior consultation

impractical or inappropriate, the party seeking to file the documents shall first

consult with the counsel for the party who designated the document as

confidential to determine if some measure less restrictive than filing the

document under seal may serve to provide adequate protection.

      As further clarification, the Court notes that a mere reference or discussion

of confidential information does not warrant sealing of the entire document and

all attachments to be filed. Instead, the Court is only interested in sealing (or

filing in a redacted format) very specific portions of documents that contain or

refer to confidential information.

      In addition, the Court will normally not seal documents used in open court

at a hearing or trial absent extraordinary circumstances.

        k.     Electronic Filing of Exhibits and Attachments

      The parties should make every effort to label all electronically uploaded

exhibits and attachments according to their content to assist the Court in making

its ruling. For example, documents should be uploaded as Ex. A: Smith

Deposition, Ex. B: Employment Contract, and Ex. C: Jones Letter, rather than Ex.

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A, Ex. B, and Ex. C.

        l.     Brief Nomenclature

      Briefs should be titled on CM/ECF as follows: The initial brief of a movant

should be titled “Brief in Support of [state the motion].” The brief of the

responding party should be titled “[name of respondent]’s Response in

Opposition to [state the motion].” The reply of the moving party should be titled

“Reply in Support of [state the motion].” Though surreplies should not be filed in

the normal course, if the Court authorizes a surreply, it should be titled “[name of

party filing the surreply]’s Surreply to [name of motion].”

        m.     Motions for Temporary Restraining Order or
               Preliminary Injunction

      Any request for a temporary restraining order or for preliminary injunctive

relief must be made by a separate motion. A request for a temporary restraining

order or preliminary injunction found only in the complaint will not be

considered. After filing an appropriate motion, the movant must contact Ms.

Bachelor to request expedited consideration.

        n.     Motions for Summary Judgment

      All citations to the record evidence should be contained in each party’s

brief, not just in the party’s statement of undisputed (or disputed) facts. The

party should include in the brief, immediately following the deposition reference,

a citation indicating the page and line numbers of the transcript where the

referenced testimony can be found. The party should also attach to the brief a


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copy of the specific pages of the deposition that are referenced in the brief. The

party should not attach to the brief a copy of the entire deposition transcript. The

entire deposition transcript is to be filed separately under a notice of filing

original deposition transcript.

      The parties are REQUIRED to submit courtesy copies of motions for and

responses to summary judgments, including all exhibits, to chambers. As stated

above, the courtesy copy should be stamped filed with the CM/ECF header.

        o.     Form of Statement of Material Facts

      In addition to following the form instructions set out in Local Rule 56.1(B),

NDGa, a party responding to a statement of material facts shall copy into its

response document the numbered statement to which it is responding and

provide its response to that statement immediately following. A party that

chooses to reply to a response that raises additional facts (pursuant to Local Rule

56.1(B)(3), NDGa), shall (1) copy into its reply document its original numbered

statement of material fact and the opposing party's response, and then (2)

provide its reply to that statement immediately following. Each party shall file its

documents in a text-searchable PDF format. Statements of material fact that do

not conform with these instructions will be returned to counsel for revision.

        p.     Requests for Oral Argument on Motions

      In accordance with Local Rule 7.1(E), motions are usually decided

without oral argument, but the Court will consider any request for hearing. If

oral argument is requested, the party or parties should specify the particular

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reasons argument may be helpful to the Court and what issues will be the

focus of the proposed argument.

      Moreover, the Court shall grant a request for oral argument on a contested

substantive motion if the request states that a lawyer of less than seven years out

of law school will conduct the oral argument (or at least a large majority), it being

the Court’s belief that new lawyers need more opportunities for Court

appearances than they usually receive.

        q.     Proposed Orders

      For all consent, unopposed, or joint motions, the filing party shall include a

proposed order granting the motion.

        r.     Pretrial Conference

      The Court will conduct a pretrial conference prior to trial. The purpose

of the conference is to simplify the issues to be tried and to rule on

evidentiary objections raised in the pretrial order.1 Parties should bring to

the conference a copy of the proposed pretrial order and attachments thereto, as

well as any outstanding motions.

      Unless otherwise directed, all motions in limine shall be filed at least

fourteen (14) days before the pretrial conference. Briefs in opposition to motions

in limine should be filed at least seven (7) days before the pretrial conference.

The motions in limine and responses shall take the form of a consolidated


1Local Rule 16.4, NDGa contains a detailed explanation of what should be in the
pretrial order.

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pleading.

      The attorneys for all parties are further directed to meet together by

agreement, initiated by counsel for the plaintiff, no later than ten (10) days

before the date of the pretrial conference to:

               a. discuss settlement; and,

               b. stipulate to as many facts and issues as possible.

In accordance with Local Rule 26.2C, Daubert motions must be filed no later

than the date the proposed pretrial order is submitted. Briefs in opposition must

be filed within fourteen (14) days following the Daubert motion, and reply briefs

must be filed seven (7) days thereafter.

        s.     Proposed Findings of Fact and Conclusions of Law

      When counsel is required to submit proposed findings of fact and

conclusions of law, the parties should confer and provide the court a single,

unified set of proposed findings of fact and conclusions of law. In other words,

the Court requires a consolidated set of proposed findings to which all parties

agree. Following the agreed upon proposed findings, the parties should include

their proposed findings to which opposing counsel objects. Where a proposed

finding is not agreed upon, the parties should indicate who is proposing the

finding, the legal or factual basis for the proposed finding, and the other party’s

objection to the proposed finding. The Court should be able to work out of one

document, not a myriad of filings on the docket.

      In addition to electronically filing the consolidated proposed findings,

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counsel should provide an electronic copy thereof (in Microsoft Word format) to

the Courtroom Deputy Clerk, Ms. Bachelor at Rebecca_Bachelor@

gand.uscourts.gov.

        t.     Courtroom Technology

      Our courtroom has various electronic equipment for use by counsel at

trial. For more information on the equipment, or to schedule an opportunity to

test the equipment, please contact the Courtroom Deputy Clerk, Ms. Bachelor at

Rebecca_Bachelor@gand.uscourts.gov or 404-215-1514. It is the parties’

responsibility to make sure they know how to use the equipment available, to

have the cables necessary to hook up their equipment, and to ensure that their

equipment will interface with the Court’s technology.

      Any party or counsel without a blue attorney ID card issued through the

U.S. Marshals Service who would like to bring in the courthouse electronic

equipment, such as a laptop computer or cellphone with a camera, must file a

proposed order in the case allowing the same. The proposed order should identify

the electronic equipment, specify the date(s) of the hearing or trial to which the

party or counsel desires to bring the equipment, and identify the courtroom to

which the equipment will be brought. This should be done not less than three (3)

business days prior to the hearing or trial, to allow for proper notification to the

U.S. Marshals Service.

        u.     Jury Trial

      The Court usually is in session from 9:00 a.m. until 5:00 p.m. There will be

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a ten (10) minute recess mid-morning and again mid-afternoon, as well as a

lunch break.

      When the jury is in the courtroom, it is the Court’s and the litigants’

responsibility to use the jury’s time efficiently. If matters need to be taken up

outside the presence of the jury, they should be raised during breaks or before the

start of the trial day. It is each party’s responsibility to have enough witnesses on

hand for each day’s proceedings.

                    i.     Voir Dire

      Proposed voir dire questions shall be filed with the pretrial order as

provided in LR 16.4(B), NDGa.

      During voir dire, the Court will ask certain qualifying questions and

request the jurors to verbally respond to a printed juror questionnaire

(containing general questions regarding their residence, occupation, education,

recreational activities, prior jury service and children, if applicable). The Court’s

printed juror questionnaire is attached as Exhibit A.

      The Court will then permit the attorneys to ask voir dire questions–as

previously approved by the Court. All challenges for cause will be heard at the

close of the questioning of all jurors.

      There will be a fifteen (15) minute break at the conclusion of juror

questioning to give all the attorneys time to review their notes prior to striking

the jury.



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      In all civil cases, eight jurors will be selected to deliberate for cases

expected to last one week or less. The Court may empanel additional jurors for

cases expected to last more than one week. The number to empanel will be

determined after receiving input from the parties.

                   ii.    Courtroom Communications

      To assist the Court Reporter, all communications to the Court should be

made before a microphone from a position at counsel table or from the lectern.

      Counsel should refrain from making disparaging remarks or displaying ill

will toward other counsel and from causing or encouraging any ill feeling among

the litigants. Counsel and litigants are to refrain from making gestures, facial

expressions, or audible comments as manifestations of approval or disapproval of

testimony, argument, or rulings by the Court.

      Only one attorney per party may object to the testimony of a witness being

questioned by an opposing party. The objection must be made by the attorney

who has conducted or is to conduct the examination of the witness. Only one

attorney for each party may address the Court during the charge conference.

      Examination of a witness should be limited to questions addressed to the

witness. Counsel and witnesses are to refrain from making extraneous

statements, comments, or remarks during examination.

      Offers or requests for stipulations should be made privately, not within the

hearing of the jury.


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      Counsel should refrain from putting any matter before the jury in the form

of a question that counsel knows or expects will be subject to an objection that is

likely to be sustained. Such matters should be taken up with the Court outside the

presence of the jury.

      Counsel should not ordinarily make motions in the presence of the jury.

Such matters may be raised at the first recess or at sidebar. A motion for mistrial

must be made immediately, but the Court may require argument at the next

recess or excuse the jury. When making an objection, counsel shall state only the

legal basis of the objections (e.g., “leading” or “hearsay”) and should not

elaborate, argue, or refer to other evidence unless asked to do so by the Judge.

      Counsel are prohibited from addressing comments or questions to each

other. All arguments, objections, and motions should be addressed to the Court.

      The Court expects five (5) to six (6) hours of testimony per day in jury trials

and will not allow sidebar conferences or lengthy hearings outside the presence of

the jury to disrupt the orderly presentation of evidence.

                   iii.   Exhibits

      Arrangements with the Courtroom Deputy Clerk for the use of

chalkboards, view boxes, tripods, or other visual aids should be made sufficiently

in advance so that they may be set up while court is not in session.

      Exhibits must be examined and marked before trial in compliance with

Local Rule 16.4, NDGa. The parties should confer with the Courtroom Deputy


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Clerk prior to the start of trial to determine how the Court will receive a copy of

the exhibits for use by the Judge on the bench during proceedings. Ordinarily, the

Court requests notebooks of exhibits to be provided on the first day of trial.

      Because enlarged exhibits and demonstrative boards are often placed on an

easel in front of the jury and thus out of the Court’s view, it would be helpful if

counsel, when showing such an exhibit or board to the jury, would provide the

Court with a small (e.g., letter or legal-sized) copy of the exhibit or board so that

the Court can view its contents.

      All papers intended for the Judge should be handed to the Courtroom

Deputy Clerk, who will pass them to the Judge. Counsel are not required to

obtain permission from the Judge to approach a witness in order to show the

witness an exhibit or other document.

                    iv.   Jury Charges

      Ordinarily, the Court will charge the jury before closing argument. The jury

will be provided with a written copy of the jury instructions. Requests to charge

and verdict forms shall be filed on CM/ECF no later than noon on the Friday

before the case is calendared or specially set for trial, unless otherwise ordered by

the Court. LR 51.1(A), NDGa. The parties must also email to the Courtroom

Deputy Clerk in Microsoft Word format an electronic copy of the proposed jury

instructions.

      These jury instructions shall be a single, unified set of proposed jury

instructions. In other words, the Court requires a consolidated set of jury

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instructions to which all parties agree. Following the agreed upon jury

instructions, the parties should include their instructions to which opposing

counsel objects. Where an instruction is not agreed upon, the parties should

indicate who is proposing the instruction and the legal basis for the instruction

and for the other party’s opposition to the instruction. The jury will be provided

with a written copy of the jury charge.

      Counsel must use the Eleventh Circuit Pattern Jury Instructions and

O’Malley’s Federal Jury Practice and Instructions, if applicable. If state law

applies, counsel shall present the appropriate pattern instruction from the

applicable state.



             IT IS SO ORDERED this 16th day of October, 2018.




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              Exhibit A: BACKGROUND JURY QUESTIONS

1.    State your name.

2.    In what city and county do you live?
      a.   How long have you lived there?
      b.   What was your previous city and county of residence and how long
           did you live there?

3.    What is your present occupation?
      a.   Please tell us the name of the company where you work.
      b.   Do you have hiring or firing authority?
      c.   If you have worked there for less than 5 years, for whom did you
           work before your current employer?

4.    If you are not currently employed, what kind of work did you do and where
      did you work before you retired or left employment?

5.    Are you married or have a live-in partner? If so, please answer:
      a.    What does your spouse or live-in partner do?
      b.    Who is your spouse's or live-in partner’s employer? Please name any
            employer(s) over the past 5 years.

6.    Do you have children, including stepchildren?
      a.   If you have adult-aged children (21 or over), what do they do and
           where do they work? Please name any employer(s) over the past 5
           years.

7.    Describe your educational background.

8.    Do you belong to any social, civil, political or religious organizations?

9.    Have you ever served on a trial jury or appeared as a witness at a trial
      before? If so, please answer:
      a.    What kind of case?
      b.    Where and when?
      c.    If you served on a jury, did the jury reach a verdict?
      d.    Were you the foreperson of the jury?

10.   Have you ever served on a grand jury before? If so, in what court?




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